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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA et al.,

                        Plaintiffs,


       v.                                                   Civil Action No. 6:23-cv-553


 NATIONAL LABOR RELATIONS BOARD
 et al.,

                        Defendants.




                      PLAINTIFFS’ SURREPLY IN OPPOSITION TO
                        DEFENDANTS’ MOTION TO TRANSFER

       The National Labor Relations Board’s reply is more notable for what it does not say than

for what it does. The Board does not deny that no court has ever read section 10(f) of the National

Labor Relations Act (NLRA) to require direct appellate review of Board rulemaking. The Board

does not deny that the Board itself never took that view until 2020—85 years after its creation and

the NLRA’s enactment. And the Board does not deny that the first party ever to seek direct

appellate review of a Board rule is the union that filed the D.C. Circuit petition for review of the

rule at issue here—the same union that supports the rule and whose 2021 suit against the Board’s

previous joint employer rule is pending in district court. Of course, the Board’s silence is

unsurprising: all of those irrefutable facts confirm the unprecedented nature of its jurisdictional

position and the untenable nature of its statutory construction.



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       The few new (atextual) points the Board does raise are easily rebutted. First, the Board

stresses that when Congress enacted the NLRA (in 1935) and last amended the Act’s rulemaking

provision (in 1947), “pre-enforcement challenges to rules were rare and widely assumed to be

unripe.” Reply at 11, 13. That argument supports Plaintiffs’ plain-text reading of section 10(f).

If Congress did not contemplate rulemaking challenges like this one, then it had no reason to

provide for direct review of them. And if it thought judicial review was available only after an

enforcement proceeding, then its reference to “final orders of the Board” must refer only to orders

resulting from an enforcement proceeding (i.e., an adjudication proceeding). The Board’s contrary

logic—that Congress never contemplated rule challenges and yet simultaneously “intended” for

such challenges to be heard in circuit court—“makes no practical sense.” Reply at 14.

       Second, the Board repeatedly quotes Bokat v. Tidewater Equipment Co., 363 F.2d 667 (5th

Cir. 1966). See Reply at 7, 12, 15. But that case, which concerned an unfair labor practice

proceeding, says nothing about district-court review of Board rules. The question presented was

“whether the District Courts . . . are to be open to police the procedural purity of the NLRB’s

[adjudicative] proceedings long before the administrative process is over, or for that matter,

scarcely begun.”   Bokat, 363 F.2d at 669. The answer is “no” because a court of appeals can

consider procedural issues when reviewing a final “unfair labor practice order” under sections

10(e) and 10(f). Although district courts may “have a very very minor role to play in this statutory

structure,” id. at 673 (emphasis added)—which requires direct appellate review of orders in such

unfair labor practice proceedings—that says nothing about review of Board rulemaking.

       Finally, the Board again invokes the D.C. Circuit’s opinion in AFL-CIO v. NLRB, 57 F.4th

1023 (D.C. Cir. 2023). But the Board both misreads that opinion and runs away from its actual

holding. Specifically, the Board contends that “the D.C. Circuit squarely found that a rule



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‘concerning unfair labor practices’ would be covered by Section 10(f) under its precedent.” Reply

at 15-16; see also id. at 9 n.9. But as Plaintiffs explained (Opp. at 20) (and the Board ignored),

whether section 10(f) applied to rules “concerning unfair labor practices” did not matter because,

“even accepting that ‘final order’ also extends to rules,” section 10(f) did not cover the

representation rule at issue. AFL-CIO, 57 F.4th at 1033 (emphasis added). Thus, any musings

about section 10(f)’s potential applicability to rules “concerning unfair labor practices” are (at

most) dicta. See Ackerson v. Bean Dredging LLC, 589 F.3d 196, 205 (5th Cir. 2009) (statements

that are “unnecessary” to a case’s holding “constitute non-binding dicta”). Beyond that, the Board

distances itself from the D.C. Circuit’s ultimate holding: that section 10(f) does not allow direct

review of rules concerning representation elections. See Reply at 15 n. 47 (“[T]he NLRB has not

yet determined whether to acquiesce to or challenge the D.C. Circuit’s ruling[.]”). Indeed, the

Board reserves the right to make the even more extreme argument that section 10(f) covers all

rules, regardless of their connection to “some kind of unfair labor practice,” expressly rejected by

the D.C. Circuit. AFL-CIO, 57 F.4th at 1032.

                                          *      *       *

       Courts often face complicated statutory-construction questions—questions that require

sentence diagrams, grammar books, canons of statutory interpretation. But sometimes courts face

questions that can be decided simply by reading the statute to confirm an unbroken decades-old

understanding. The latter is true here.

       The Court should deny the Board’s motion to transfer.




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Dated: December 18, 2023                       Respectfully submitted,

                                               /s/ Pratik A. Shah
Stephanie A. Maloney                           Pratik A. Shah (Lead Attorney)
  D.C. Bar No. 1044276 (pro hac vice)            D.C. Bar No. 497108 (pro hac vice)
Jordan L. Von Bokern                           James E. Tysse
  D.C. Bar No. 1032962 (pro hac vice)            D.C. Bar No. 9787522 (pro hac vice)
U.S. Chamber Litigation Center                 James C. Crowley
1615 H Street, N.W.                              D.C. Bar No. 208946 (pro hac vice)
Washington, DC 20062-2000                      Margaret O. Rusconi
Telephone: (202) 463-5337                        D.C. Bar No. 1719371 (pro hac vice)
smaloney@uschamber.com                         Akin Gump Strauss Hauer & Feld LLP
jvonbokern@uschamber.com                       2001 K Street, N.W.
                                               Washington, D.C. 20006
Attorneys for the Chamber of Commerce of the Telephone: (202) 887-4000
United States of America                       Facsimile: (202) 887-4288
                                               pshah@akingump.com
Maury Baskin                                   jtysse@akingump.com
 D.C. Bar No. 248898 (pro hac vice)            jcrowley@akingump.com
Littler Mendelson                              mrusconi@akingump.com
815 Connecticut Avenue, N.W.
Suite 400                                      Laura P. Warrick
Washington, D.C. 20006                           Texas Bar No. 24079546
Telephone: (202) 842-3400                      Akin Gump Strauss Hauer & Feld LLP
Facsimile: (202) 842-0011                      2300 N. Field Street, Suite 1800
mbaskin@littler.com                            Dallas, TX 75201
                                               Telephone: (214) 969-4770
Counsel to Associated Builders and Contractors Facsimile: (214) 969-4343
and International Franchise Association        lwarrick@akingump.com

Angelo I. Amador                               Counsel to Plaintiffs Chamber of Commerce of the
  D.C. Bar No. 480031 (pro hac vice)           United States of America, American Hotel and
Restaurant Law Center                          Lodging Association; Associated Builders and
2055 L Street, N.W.                            Contractors; Associated General Contractors of
Suite 700                                      America; Coalition for a Democratic Workplace;
Washington, D.C. 20036                         International Franchise Association; Longview
Telephone: (202) 331-5913                      Chamber of Commerce; National Association of
                                               Convenience Stores; National Retail Federation;
Counsel for the Restaurant Law Center          Restaurant Law Center; Texas Association of
                                               Business; and Texas Restaurant Association




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on December 18, 2023, the foregoing document was

electronically submitted with the clerk of the court for the United States District Court, Eastern

District of Texas, using the electronic case file system of the court. I hereby certify that I have

served all counsel of record electronically or by another manner authorized by Federal Rule of

Civil Procedure 5(b)(2).



                                                       /s/ Pratik A. Shah
                                                     Pratik A. Shah
